                       Case 2:17-cv-00198-DJH Document 30 Filed 01/23/17 Page 1 of 1

                                              UNITED STATES DISTRICT COURT
                                                               DISTRICT OF ARIZONA
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                                                                 January 23, 2017


         To: All Parties/Counsel of Record


                    Re: Carpenters Southwest Administrative Corp, et al., v. HKB, Inc., et al.,
                        2:16-cv-8040


         Dear Parties/Counsel of Record:

         The above mentioned cause of action has been received in this district and has been
         assigned to the Honorable Diane J. Humetewa for all further proceedings. All future pleadings
         should now list the following complete case number: CV-17-198-PHX-DJH.

         If any documents have been filed in California since the transfer of this case, please arrange
         with the Clerk there to send them to this office for filing. All pending matters must be
         renoticed before this Court.

         Sincerely,

         BRIAN D. KARTH, DCE/CLERK


         By: s/M. Pruneau
             Deputy Clerk




            The staff of the Clerk’s Office ensures the effective, efficient and professional delivery of clerical and administrative services,
                                        while fostering a customer-friendly and employee-friendly environment.
